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                           UNITED STATES DISTRICT COU RT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO.IO-I4O96-CR-M ARTINEZ/LYNCH

 UNITED STATES OF AM ERICA

        Plaintiff,
 VS.

 BHARDW AAJSEECHARAN,

        Defendant.

        ORDER ADOPTING M AGISTM TE'S REPO RT AND RECOM M ENDATION

        THIS CAUSE cam ebeforetheCourtupon theOrderofReference from theDistrict
 Courtto conductaChangeofPleabeforeaM agistrateJudge.
        THE M ATTER wasreferred toM agistrate JudgeFrank J.Lynch Jr,on M arch 29,2012.

 A ReportandRecommendationwasfiledonApril2,2012,(D.E.#88),recommendingthatthe
 Defendant'spleaofguiltybe accepted.TheDefendantand theGovernm entwereafforded the
 opportunitytotileobjectionstotheReportandRecommendation,howevernonewerefiled.The
  Courthasconducted adenovoreview ofthe entireûle.A ccordingly,itis
        ORDERED AND ADJUDGED that
        TheReportand Recommendation ofUnited StatesM agistrateJudgeFrnnkJ.Lynch Jr,is
  hereby Adopted and Approved in itsentirety.
        TheDefendantisadjudgedguiltytoCountSevenoftheIndictment,whichchargesthe
  Defendantwith conspiracy to com mitbank fraud,in violation ofTitle 18,United StatesCode,
  Sections1349 and 1344.
         DONE AND ORDERED in Chambersat ' i,Florida,this                ay ofApril,2012.


                                                JOSE . ARTIN Z
                                                U N IT STA TES D ISTRIC JUD G E

  Copied:H on.M agistrate Lynch
  A11CounselOfRecord
  U.S.Probation Oftk e
